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                                         U.S. Department of Justice


                                         United States Attorney
                                         Eastern District of New York
JAJ:SDD/SA                               271 Cadman Plaza East
F.#2009R01764                            Brooklyn, New York 11201

                                         May 13, 2011

Via Email and ECF

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           Re:   United States v. Betim Kaziu
                 Criminal Docket No. 06-660 (JG)

Dear Sirs:

          Pursuant to Rule 16(a)(1)(G) of the Federal Rules of
Criminal Procedure, please be advised that the government intends
to call Evan Kohlmann as an expert witness at trial.

          As set forth in greater detail in the enclosed draft
expert report, Mr. Kohlmann is a private international terrorism
consultant, who specializes in tracking al-Qaeda and other
contemporary terrorist movements. He holds a degree in
International Politics from the Edmund A. Walsh School of Foreign
Service (Georgetown University), and a Juris Doctor (professional
law degree) from the University of Pennsylvania Law School. Mr.
Kohlmann is the recipient of a certificate in Islamic studies
from the Prince Alwaleed bin Talal Center for Muslim-Christian
Understanding at Georgetown University. He currently works as an
investigator with the NEFA Foundation and as an on-air analyst
for NBC News in the United States.
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           In addition, Mr. Kohlmann runs the Internet website
Globalterroralert.com, which provides information to the general
public relating to international terrorism, and is the author of
the book Al-Qaida’s Jihad in Europe: the Afghan-Bosnian Network.
Mr. Kohlmann has previously been qualified as an expert on the
subject of Islamic extremism and the use of electronic media by
terrorists and foreign terrorist organizations. He has testified
as an expert witness in numerous proceedings relating to
terrorism.

          In connection with the trial in the above-referenced
case, we anticipate that Mr. Kohlmann will testify as to the
background and significance of certain terrorists and terrorist
organizations, which are featured in electronic media that were
recovered from the defendant’s laptop computer. For example, we
expect that Mr. Kohlmann will testify that certain materials on
the defendant’s laptop were created by the propaganda wings of
foreign terrorist organizations, including al-Qaeda, al-Shabaab
and the Islamic Army of the Caucasus. Mr. Kohlmann will explain
the significance of this material in the context of global
terrorism, including material which appears to have been created
and/or transcribed by the defendant himself.

          We also expect that Mr. Kohlmann will testify as to the
dates that certain extremist propaganda materials were first
published by foreign terrorist organizations, as well as the
dates that certain electronic media were accessed on the
defendant’s laptop computer. In addition, we expect that Mr.
Kohlmann will testify as to the common meaning and usage of
jihadist terminology.

          We further expect that Mr. Kohlmann will testify
regarding how terrorists use propaganda to recruit personnel into
their mission to promote violent, global jihad, and how knowledge
of such propaganda materials facilitates the operational,
cultural and social assimilation of foreign fighters into
jihadist groups operating abroad. Mr. Kohlmann currently is in
the process of making additions and revisions to the enclosed
draft expert report, which sets forth the general subject matter
of his anticipated testimony in greater detail. We will timely
provide you with a final version of the report before trial.




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          The government reserves the right to call a substitute
expert witness, as well as to call additional expert witnesses,
and will provide advance notice of any intent to do so. If you
have any questions or further requests, please do not hesitate to
contact us.




                                         Very truly yours,

                                         LORETTA E. LYNCH
                                         United States Attorney


                                   By:      /s/
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                                         Seth D. DuCharme
                                         Ali Kazemi
                                         Assistant U.S. Attorneys
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cc: Clerk of Court (JG w/o enclosure)(by ECF)




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